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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV17–5075-AB (JPRx)                                              Date   September 10, 2018
 Title          Giganews, Inc. et al. v. Perfect 10, Inc. et al.




 Present: The                  Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                                CS 9/10/18
                    Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                  Todd R. Gregorian                                       Matthew C. Mickelson
                   Konrad L. Trope


 Proceedings:               (IN COURT): Plaintiff’s Motion to Compel Interrogatory Responses,
                            Production of Documents and Continued Deposition of Norman Zada and
                            Perfect 10

         Case is called. Counsel make their appearances. Court addresses parties. Argument heard.

      For the reasons stated on the record at the hearing, the Court GRANTS Plaintiffs' motion to
compel in large part as indicated below.

Requests for Production: The Court orders the parties to further meet and confer concerning the disputed
requests for production, after which the parties reach an agreement that they place on the record. The
parties are to conclude their meet and confer concerning search terms by September 24, 2018, and
Defendants are to produce all responsive communications and other documents by October 1.

Interrogatories: No later than September 24, 2018, Defendants are to serve supplemental responses to
the disputed interrogatories, limited to January 1, 2013, through December 31, 2017, and only for
individual assets valued at $750 or more, excluding the transfers in March and April 2015.
Interrogatories 8 and 9 are further limited not to include utility accounts, alarm or security-service
accounts, or cable or satellite-television accounts.

Deposition: Defendants must make Norman Zada available for an additional four hours of deposition,
two under Federal Rule of Civil Procedure 30(b)(6) and two under subsection (b)(1), at a mutually
agreeable date and time no later than 30 days from the date of the hearing. Defendants are ordered to
pay costs for one hour of the prior deposition. Within seven days of receiving an accounting from
Plaintiffs of those costs, they must either pay the amount or, after meeting and conferring, file a
statement objecting to some or all of the accounting and explaining the basis for their objections. If they
do file a statement, Plaintiffs may file a reply within seven days and the matter will then stand submitted
for decision.

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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV17–5075-AB (JPRx)                                                   Date   September 10, 2018
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Privilege Log: To the extent Defendants are withholding any responsive documents or communications
on the basis of the attorney-client privilege or work-product protection, they must log them in a
privilege log and produce the log to Plaintiffs no later than 30 days from the date of the hearing. They
need not log any communications with Mr. Mickelson after July 10, 2017, nor any communications or
documents from before January 1, 2013.

Native-Format Documents: No later than 14 days from the date of the hearing, Defendants must produce
in native format with metadata intact the documents at Bates numbers PN-REPAY-0001 through -36
and PN-DEMAND-NOTES-0001 through 222. They must provide any other information they have
concerning the author or authors of each document, its date of creation, the identity of any editor or
editors, and the date it was last edited.

Defendant Norman Zada's Inheritance: No later than 14 days from the date of the hearing, Defendant
Zada must produce a sworn declaration to the effect that before their deaths at separate times in 2017,
he had no access to or ability to control any of the financial accounts he inherited from his parents. If he
cannot provide such a declaration, he must include in his supplemental discovery responses any
responsive information concerning those accounts through December 31, 2017.




         cc: Judge Birotte




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                                                               Initials of Preparer                bm



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